Case 2:02-cv-02282-SHI\/|-dkv Document 177 Filed 07/18/05 Page 1 Of 4 , Page|D 290

 

IN THE UNITED sTATES DISTRICT coURT mm BY\~}£`”-/- °~°»
FOR THE wEsTERN DISTRICT oF TENNESSEE
WESTERN DIvIsIoN 05 JUL |8 PH 5= 011
rm
BARRY FIALA, INC., UUS.[¥STHCTCUBT
W?D L~ 'F¢“s’, YJHTPHS

Plaintiff/Counter-Defendant,

VS. NO. 02-2282"Ma

ARTHUR BLANK & CO., INC.,

Defendant/Counter»Plaintiff,

VS.
MOORE NORTH AMERICA, INC.,

Third Party Defendant.

 

ORDER EXTENDING TIME TO MEDIATE

 

Before the court is the July ll, 2005, joint motion of the
parties requesting an extension of the mediation deadlines. For
good cause shown, the motion is granted. The deadline for
selecting a mediator is August l, 2005. If the parties are
unable to agree on a mediator, the court will select one.
Mediation shall occur Within thirty (30) days from selection of
the mediator.

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It is so ORDERED this l day of July, 2005.

SAMUEL H. MAYS, JR.
UNITED STATES DISTRICT JUDGE

 

Thls document entered on the dock sheet compliance
with Rule atf andlor 79(3) FHCP on `° "

   

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Honorable Samuel Mays
US DISTRICT COURT

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